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 8
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 9

10                                  UNITED STATES DISTRICT COURT
11                               NORTHERN DISTRICT OF CALIFORNIA
12    ELLIOTT LAM, individually and on behalf of
      other members of the general public similarly
13    situated,
14
                             Plaintiff,
15           v.
                                                         Case No. 3:22−CV−07336−JSC
16    SAM BANKMAN-FRIED, CAROLINE
      ELLISON, and GOLDEN STATE WARRIORS,                ADMINISTRATIVE L.R. 7-11 MOTION
17    LLC,                                               TO CONSIDER WHETHER CASES
18                                                       SHOULD BE RELATED
                             Defendants.
19
                                                         [N. D. CAL. CIVIL L.R. 3-12]
20    THIS DOCUMENT RELATES TO:
                                                         Judge: Jacqueline Scott Corley
21    Pierce v. Bankman-Fried et al.,
22    Case No. 3:22−cv−07444−JSW                         Trial Date:   None set
                                                         Action Filed: November 20, 2022
23    Hawkins v. Bankman-Fried et al.,
      Case No. 3:22−cv−007620−TSH
24
      Jessup v. Bankman-Fried, et al.,
25
      Case No. 4:22-cv-07666-DMR
26

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              ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
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 1              TO THE COURT, ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF RECORD,
 2   PLEASE TAKE NOTICE that pursuant to Civil Local Rules (“L.R.”) 3-12 and 7-11, Plaintiff Elliot
 3   Lam, in this instant matter, Lam v. Bankman-Fried et al., No. 3:22-cv-07336-JSC, hereby respectfully
 4   moves this Court to consider whether the recently filed cases should be related to this action, the lowest
 5   numbered case, filed on November 20, 2022. Plaintiff Lam seeks an order to relate the below cases (see
 6   Section I, infra), because all identified cases (1) involve the same or similar parties, property,
 7   transactions, or events; (2) call for determination of the same or substantially related questions of law
 8   and therefore may result in conflicting rulings before different Judges; and (3) entail unduly burdensome
 9   duplication of labor and expense. See generally, Civil L.R. 3-12.
10        I.        RELEVANT FACTUAL BACKGROUND
11              In November 2022, the general public witnessed an unprecedented collapse of a leading
12   cryptocurrency exchange, known as Futures Exchange, Ltd. (“FTX”). FTX was run by Defendant
13   Bankman-Fried and, as alleged, involve improper conduct by Defendant Caroline Ellison through related
14   cryptocurrency trading firm Alameda Research, LLC (“Alameda”). The Defendants made assurances
15   regarding the safety and efficacy of FTX as an investment platform, assurances that were plainly false.
16   Plaintiff investors like Plaintiff Lam suffered harm and thereafter filed lawsuits alleging that the conduct
17   surrounding the promotion and operation of FTX induced individuals into investing and resulted in the
18   loss of invested money.
19              Many actions recently filed in this District relate to these events in and around November 2022.
20   Plaintiff Lam identifies the below list of cases filed in this District that should be related pursuant to
21   Civil L.R. 3-12 for the reasons discussed herein.
22
                                    Case Name                                Case No.             Date Filed
23    1         Lam v. Bankman Fried et al.                           3:22-cv-07336-JSC         Nov. 20, 2022
24    2         Pierce. v. Bankman-Fried et al.                       4:22-cv-07444-JSW         Nov. 23, 2022
      3         Hawkins v. Bankman-Fried, et al.                      3:22-cv-07620-TSH         Dec. 2, 2022
25
      4         Jessup v. Bankman-Fried, et al.                       4:22-cv-07666-DMR         Dec. 5, 2022
26

27        II.       LEGAL STANDARD FOR RELATING CASES
28

                                                   1                 (3:22−CV−07336−JSC)
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 1             “Whenever a party knows or learns that an action, filed in or removed to this district is (or the
 2   party believes that the action may be) related to an action which is or was pending in the District as
 3   defined in Civil L.R. 3-12(a), the party must promptly file in the lowest-numbered case an Administrative
 4   Motion to Consider Whether Cases Should be Related, pursuant to Civil L.R. 7-11.” Civil L.R. 3-12(b)
 5   (emphasis added). Under Civil Local Rule 3-12(a), “[a]n action is related to another when: (1) The
 6   actions concern substantially the same parties, property, transaction, or event; and (2) It appears likely
 7   that there will be an unduly burdensome duplication of labor and expense or conflicting results if the
 8   cases are conducted before different Judges.” Civil L.R. 3-12(a).
 9      III.       THE ACTIONS SHOULD BE RELATED
10             The Lam action involves substantially the same subject matter as, and overlaps defendants with,
11   the Pierce, Hawkins, and Jessup cases. Under the Civil L.R. 3-12(a)’s standard, the listed cases should
12   be related.
13             Same Event: The promotion and collapse of FTX
14             The cases all arise from the same common operative facts – the actions taken by Bankman-Fried
15   and other named Defendants to promote FTX to investors and consumers, as well as the eventual collapse
16   of FTX as a result of Defendants’ actions. Every complaint contains these same factual allegations
17   describing or alluding to the real-life narrative about the intense promotion of FTX and its eventual
18   collapse. Compare, Declaration of Kurt Kessler (“Kessler Decl.”) Ex. 1 (“Lam Compl.”) at ¶¶ 22-37,
19   Ex. 2 (“Pierce Compl.”) at ¶¶ 33-57, Ex. 3 (“Hawkins Compl.”) at ¶¶ 28-45, Ex. 4 (“Jessup Compl.”) at
20   ¶¶ 47-53. Thus, these matters clearly satisfy Civil L.R. 3-12(a)(1) to be related, as they indisputably
21   concern the same event and operative facts – the actions taken by defendants and the subsequent
22   shutdown of the FTX platform that began in November 2022.
23             Substantially Same Parties: Sam Bankman-Fried and Caroline Ellison
24             The listed cases have the same or overlapping defendants: Sam Bankman-Fried and Caroline
25   Ellison are present as Defendants in all three cases. See Lam Compl.; see also Pierce Compl.; Hawkins
26   Compl.; Jessup Compl. Each complaint challenges the conduct Bankman-Fried and Caroline Ellison in
27   relation to the promotion and operation of FTX and Alameda. See Lam Compl. at ¶¶ 41-42; see also
28   Pierce Compl. at ¶¶ 85-86; Hawkins Compl. at ¶ 42; Jessup Compl at ¶ 33.

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 1          Moreover, each named plaintiff seeks to certify a similar class of investors generally defined as
 2   those who deposited and invested money with FTX in the U.S. and/or internationally and thus were
 3   damaged as a result of the collapse. See Lam Compl. ¶ 59; see also Pierce Compl. ¶ 136; Hawkins
 4   Compl. ¶ 46; Jessup Compl. ¶ 59. Thus, these matters further satisfy Civil L.R. 3-12(a)(1) and should
 5   be related because they concern the same operative Defendants and overlapping class members.
 6          Same or Similar Claims: Raising Common Questions of Law and Overlapping Discovery
 7          All the actions allege claims involving conspiracy or fraud among the Defendants related to the
 8   promotion and operation of FTX – with three alleging conspiracy and three alleging fraud or fraudulent
 9   concealment. Lam Compl. ¶¶ 91-106, Pierce Compl. ¶¶ 130-134; Hawkins Compl ¶¶ 68-85, Jessup
10   Compl. ¶¶ 66-77. Additionally, two actions allege California statutory violations under the Unfair
11   Competition Law and the False Advertising Law. Lam Compl. ¶¶ 91-106; Hawkins Compl ¶¶ 68-85.
12          In these matters, there is an obvious focus on causes of actions that relate to the compensation
13   for consumers and investors as a result of the alleged misconduct of Defendants Bankman-Fried, Ellison,
14   other executives at FTX and associated individuals and entities. Similar legal questions will therefore
15   arise, for example, over whether Defendants’ individually and collectively defrauded investors; whether
16   Defendants violated consumer protection statutes; and whether Defendants’ actions amounted to fraud
17   and/or conspiracy.
18          Moreover, because the underlying facts surrounding the cases are the same, most (if not all) of
19   the discovery sought in these cases will overlap in regard to the common named Defendants, particularly
20   Bankman-Fried and Ellison, and the common actions taken during the same narrow period of time (FTX
21   was only founded in mid-2019). Accordingly, Plaintiffs in these related actions likely will seek the same
22   or similar discovery from Defendants and non-parties, and the Defendants likely will proffer common
23   factual and legal defenses and expert witnesses in each of the cases, thus rendering separate actions
24   before different courts unduly duplicative, burdensome, and likely to result in conflicting results should
25   they continue before different judges. Specifically, without relation, there is a risk of inconsistent rulings
26   that may relate to the applicability of contractual clauses or the legality of Defendants’ conduct.
27          Thus, Civil L.R. 3-12(a)(2) necessitates the relating of these cases because otherwise the
28   overlapping questions of law and discovery will impose an unduly burdensome duplication of labor and

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 1   expense upon Plaintiffs and Defendants, or worse yet, conflicting rulings and results if the cases are
 2   conducted before different Judges. Further, these cases should be related because doing so will
 3   significantly advance the interests of judicial economy; this Court faces the prospect of 4 (and likely
 4   more in the future) separate class actions related to the exact same set of facts. These related matters
 5   satisfy Civil L.R. 3-12(a)(2).
 6      IV.      CONCLUSION
 7            A simple reading of the initial factual allegations of every complaint provides a clear rationale
 8   for relating these cases together – every single complaint seeks to advocate for FTX’s users, in the face
 9   of Defendants Bankman-Fried, Ellison, and other named defendants acting or conspiring to defraud and
10   harm investors on the FTX platform. Every single complaint seeks to represent a wide ranging and broad
11   class in an effort to vindicate their rights and restore what Defendants took from them. Every single
12   complaint names Bankman-Fried and Ellison as Defendants. Every single complaint focuses on the
13   events of November 2022. These cases represent no longer just a risk, but the extreme likelihood of
14   burdensome duplication of labor and expense and potential inconsistent judicial determinations
15   regarding the same issues. For the foregoing reasons, Plaintiff Lam respectfully requests that the Court
16   order these cases identified herein related to Lam v. Bankman-Fried et al., No. 3:22-cv-07336-JSC, the
17   lowest numbered case.
18

19   Dated: December 12, 2022                          Respectfully submitted,
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